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                        IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



 DEBORAH LAUFER, Individually,                              :
                                                            : Case No.: 3:20-cv-1188 (JAM)
                 Plaintiff,                                 :
 v.                                                         :
                                                            :
 SKDJ HOSPITALITY LLC,                                      :
           Defendant.                                       :
                                                            :
 _____________________________________                      : OCTOBER 27, 2020


                                  NOTICE OF SETTLEMENT

       Plaintiff, by and through undersigned counsel, hereby gives notice to the Court that this

matter has settled and it is anticipated that a stipulated request for dismissal will be filed within

the next thirty (30) days.

                                                       Respectfully submitted,

                                                       Attorney for Plaintiff:

                                                       _/s/ L. Kay Wilson__

                                                       L. Kay Wilson, Esq.
                                                       Fed. Juris: ct16084
                                                       WILSON LAW
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                                CERTIFICATE OF SERVICE

I hereby certify that on the 27th day of October, 2020, a copy of the foregoing Notice of
Settlement was filed electronically and served on all counsel of record via the Court’s CM/ECF
system.



                                            /s/ L. Kay Wilson, Fed. Juris ct16084




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